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7
8                      IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           CR. No. S 07-571 GEB
                                   )
12                  Plaintiff,     )           STIPULATION AND ORDER
                                   )
13             v.                  )
                                   )
14   ERIC BROOKS,                  )
                                   )           Date: July 13, 2012
15                  Defendant.     )           Time: 9:00 a.m.
     ______________________________)           Hon. Garland E. Burrell, Jr.
16
17
          It is hereby stipulated by and between the United States of
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     America through its attorneys, and defendant Eric Brooks and his
19
     attorney, that the status conference hearing set for May 25, 2012,
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     be vacated, and a status conference hearing be set for July 13, 2012
21
     at 9:00 a.m.
22
          Mr. Brooks is also a defendant in case no. CR S 08-122 GEB.            He
23
     has entered a guilty plea in that case and the parties are
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     requesting that sentencing be set for July 13, 2012.          Pursuant to
25
     the plea agreement entered in case 08-0122 GEB, the government
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     anticipates dismissing the charges against Mr. Brooks in case 07-571
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     at sentencing.   However, that cannot occur until Mr. Brooks has
28
     finished completing his obligations under the plea agreement.          The

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1    parties stipulate that the ends of justice are served by the Court
2    excluding the time between May 25, 2012, and July 13, 2012, so that
3    the defendant may continue to fulfill his obligations under the plea
4    agreement in case 08-0122, which will likely result in the dismissal
5    of the pending charges in this case.          18 U.S.C. §3161(h)(1) (other
6    proceedings concerning the defendant) / Local Code C (other charges
7    pending).
8
     DATED: May 21, 2012                   /s/ Philip Ferrari for
9                                         MICHAEL HANSEN, ESQ.
                                          Attny. for Eric Brooks
10
11   DATED: May 21, 2012                  BENJAMIN WAGNER
                                          United States Attorney
12
13                                   By: /s/ Philip Ferrari
14                                       PHILIP A. FERRARI
                                         Assistant U.S. Attorney
15
          IT IS ORDERED that the status conference currently set for May
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     25, 2012, is vacated, and a new status conference is set for July
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     13, 2012, at 9:00 a.m.        For the reasons stipulated to by the
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     parties, good cause exists pursuant to 18 U.S.C. §§ 3161(h), and
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     time is excluded under the Speedy Trial Act through July 13, 2012.
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     For the reasons set forth in the stipulation, the interests of
21
     justice served by granting this continuance outweigh the best
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     interests of the public and the defendants in a speedy trial.
23
24        IT IS SO ORDERED.

25   Dated:     May 22, 2012
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27                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
28


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